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designing their products to include Realtek integrated circuits, and developing supply chains and

product strategies.” Motion for Expedited Proceedings at 7 ¶ 21. Accordingly, an injunction “will

cause immense harm to Realtek’s reputation, will compromise its relationship with         resulting

in a loss of the      relationship, and will upend complex supply chains.” Id. at 14 ¶ 44. The

German courts will decide whether to issue an injunction on February 20, 2025.

       2.      Defendants’ action against             is unwarranted for two reasons: (1) Realtek’s

License Agreement with Defendant Avago Sales provide a license to Realtek that protects

use of Realtek’s chips; and (2) Defendants cannot assert the two European patents against

Realtek’s products because Defendants breached their contractual obligation to offer Realtek a

license on Reasonable and Non-Discriminatory (“RAND”) terms. Realtek filed an action in

Delaware Court of Chancery on October 31, 2024, which provided enough time for expedited

discovery and a resolution on the merits before February 20, 2025. Realtek repeatedly tried to

contact Defendants’ counsel to plan for orderly resolution of Realtek’s claims but heard nothing.

On Friday, November 7, Defendants filed a frivolous notice of removal for the purpose of delaying

the proceedings. On Saturday, November 8, Realtek sent a detailed letter to Defendants outlining

the reasons that removal is baseless. Defendants responded by letter, on November 11, 2024, and

they simply repeated their frivolous arguments.

       3.      Today, November 11, 2024, Realtek is filing a Motion to Remand the Case to the

Court of Chancery of the State of Delaware or Alternatively to Set a Schedule for an Antisuit

Injunction. Prompt remand is required so that there is sufficient time for the Delaware Court of

Chancery to conclude its proceedings prior to February 20, 2025. Plaintiff, therefore, respectfully

requests the Court enter the following briefing and hearing schedule:

       (1) Defendants’ deadline for their answering brief is Thursday, November 14, 2024;




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      (2) Plaintiff’s deadline for a reply brief is Friday, November 15, 2024; and

      (3) the Court will hold a hearing (if deemed needed) on Monday, November 18, 2024, or

          its next availability.


 Dated: November 11, 2024                            K&L GATES LLP

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